
BE IT REMEMBERED:

THAT at the term of the Honorable Court of Appeals for the Tenth District of the State of Texas, begun and holden at Waco on the 1st day of January, 2016, present Chief Justice TOM GRAY and Justices REX D. DAVIS and AL SCOGGINS

In the cause

No. 10-16-00141-CR

IN RE TROY DANIEL THOELE

Original Proceeding

the following Judgment was entered on the 9[th] day of June, 2016:

"This cause came on to be heard on the "Application for Writ of Habeas Corpus from final conviction from the 272[nd] Judicial District Court of Brazos County, Texas," and the same being considered, because it is the opinion that this Court lacks jurisdiction and that the original proceeding should be dismissed; it is therefore ordered, adjudged and decreed that the original proceeding be, and hereby is, dismissed for want of jurisdiction.  It is further ordered that costs of appeal be, and hereby are, adjudged against Appellant and that this decision be certified below for observance."

I, SHARRI ROESSLER, Clerk of the Court of Appeals for the Tenth District of Texas, at the City of Waco, hereby certify that the foregoing is a true copy of the Judgment entered herein by this Court in the above entitled and numbered cause as appears of record in Minute Book 13, Page 836.

IN WITNESS WHEREOF, I hereunto set my hand and affix the seal of said Court at Waco, this 9th day of June A.D. 2016.

SHARRI ROESSLER, CLERK
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk

1140688795893700

